Case 1:23-cv-22799-KMM Document 8 Entered on FLSD Docket 08/21/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No. 1:23-cv-22799-KMM

 ALEJANDRO J. MEDINA URIBE,

           Plaintiff,

 v.

 CLEANER’S GURU LLC, a Florida Limited
 Liability Company d/b/a TOTAL G TELECOM,
 and RAFAEL E. HERNANDEZ, Individually,

        Defendants.
 ________________________________________/

                           PLAINTIFF’S STATEMENT OF CLAIM

          Plaintiff ALEJANDRO J. MEDINA URIBE (“Plaintiff”), by and through the undersigned

 counsel, hereby files this Amended Statement of Claim pursuant to this Court’s Order [ECF No.

 4], dated July 31, 2023, and in support thereof states as follows:

      A. Initial Estimate of Plaintiff’s Total Unpaid Overtime Wages

          Plaintiff estimates that his total amount of unpaid overtime wages is, at a minimum,

 $15,300.00 exclusive of liquidated damages, attorneys’ fees, and costs. If liquidated damages are

 awarded, Plaintiff would be owed $30,600.00, plus attorneys’ fees and costs.

      B. Preliminary Calculation of Unpaid Overtime Wages

                                                                                    Wages Owed
        Time Frame           Overtime Rate of Pay         Hours Worked
                                                                                    (unliquidated)
       March 1, 2021 -           $15.00/hour
                                                          50 hours/week              $15,300.00
      February 11, 2023          ($30.00 ÷ 2)


          Plaintiff was employed by Defendants from March 2021 through February 11, 2023 (102

 workweeks). Throughout Plaintiff’s employment, Defendants paid Plaintiff a daily rate of $300.00

 regardless of the number of hours that Plaintiff worked.             However, Defendants failed to

                                                                       Case No. 1:23-cv-22799-KMM
                                                                                             Page 1
Case 1:23-cv-22799-KMM Document 8 Entered on FLSD Docket 08/21/2023 Page 2 of 4




 compensate Plaintiff at a rate of at least one and one-half times his regular rate of pay for any of

 the hours that Plaintiff worked beyond 40 per workweek. Throughout Plaintiff’s employment with

 Defendants, Plaintiff typically worked five 10-hour shifts per week for Defendants’ benefit,

 totaling 50 hours per week.

        Given that Plaintiff was paid a daily rate of $300.00, Defendants compensated Plaintiff at

 a rate equating to $30.00 per hour based on Plaintiff’s 10-hour workday ($300/day ÷ 10 hours/day

 = $30.00/hour). Accordingly, Plaintiff estimates that Defendants owe him, at a minimum,

 $15,300.00 in unpaid overtime wages based on Plaintiff’s halftime rate of $15.00 per hour [102

 weeks × (10 hours/week × $15.00/hour)]. Defendant’s decision not to compensate Plaintiff at the

 applicable overtime rate was intentional.

    C. Estimation of Attorney’s Fees and Costs

        As of this Statement’s date of filing, Plaintiff’s undersigned counsel estimates that it has

 incurred approximately $4,606.50 in attorney’s fees. Juan J. Perez, Esq. seeks an hourly rate of

 $380.00 as a founding partner of the undersigned firm with over eight years of experience as a

 Florida-licensed attorney. Mr. Perez has expended one (1) hour of attorney work in connection

 with the prosecution of this action. Nathaly Saavedra, Esq. seeks an hourly rate of $325.00 as a

 junior partner of the undersigned firm with over seven years of experience as a Florida-licensed

 attorney. Ms. Saavedra has expended six hours and thirty minutes (6.5 hours) of attorney work in

 connection with the prosecution of this action. P. Brooks LaRou, Esq. seeks an hourly rate of

 $200.00 as a first-year associate of the undersigned firm. Mr. LaRou has expended over ten hours

 and thirty minutes (10.57 hours) of attorney work in connection with the prosecution of this action.

 Additionally, Plaintiff has incurred $502.00 in costs as a result of this action ($402.00 filing fee +

 $100.00 service of process fee).



                                                                      Case No. 1:23-cv-22799-KMM
                                                                                            Page 2
Case 1:23-cv-22799-KMM Document 8 Entered on FLSD Docket 08/21/2023 Page 3 of 4




        WHEREFORE, based on the foregoing, Plaintiff files this Amended Statement of Claim.

 Dated: August 21, 2023                                Respectfully submitted,

                                                       /s/ P. Brooks LaRou    -
                                                       Nathaly Saavedra, Esq.
                                                       Florida Bar No. 118315
                                                       Email: nathaly@peregonza.com
                                                       Juan J. Perez, Esq.
                                                       Florida Bar No. 115784
                                                       Email: juan@peregonza.com
                                                       P. Brooks LaRou, Esq.
                                                       Florida Bar No. 1039018
                                                       Email: brooks@peregonza.com
                                                       PEREGONZA THE ATTORNEYS, PLLC
                                                       5201 Blue Lagoon Drive, Suite 290
                                                       Miami, Florida 33126
                                                       Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 21, 2023, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record or pro se parties identified on the attached Service

 List in the manner specified, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.

                                                       /s/ P. Brooks LaRou -
                                                       P. Brooks LaRou, Esq.




                                                                      Case No. 1:23-cv-22799-KMM
                                                                                            Page 3
Case 1:23-cv-22799-KMM Document 8 Entered on FLSD Docket 08/21/2023 Page 4 of 4




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                        UNITED STATES DISTRICT COURT
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                           Case No. 1:23-cv-22799-KMM


 Nathaly Saavedra, Esq.
 Florida Bar No. 118315
 nathaly@peregonza.com
 Juan J. Perez, Esq.
 Florida Bar No. 115784
 juan@peregonza.com
 P. Brooks LaRou, Esq.
 Florida Bar No. 1039018
 brooks@peregonza.com
 PEREGONZA THE ATTORNEYS, PLLC
 5201 Blue Lagoon Drive, Suite 290
 Miami, Florida 33126
 Telephone: (786) 650-0202
 Facsimile: (786) 650-0200
 Counsel for Plaintiff


 Method of Service: CM/ECF




                                                     Case No. 1:23-cv-22799-KMM
                                                                           Page 4
